      Case 1:12-cr-00012-KS-JCG         Document 408        Filed 06/22/16     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                SOUTHERN DIVISION

UNITED STATES

VS.                                                             CRIMINAL NO. 1:12cr12-KS-9

JOHN FATU ANDERSON

                                            ORDER

       BE IT REMEMBERED that the above styled case appeared on the Civil Justice Reform

Act (CJRA) Report for the first time in several years on or about June 20, 2016. The above

styled and numbered cause has been closed. The Defendant herein, John Fatu Anderson, was

entitled to a sentence reduction under “Drugs Minus Two" and on April 18, 2016, an Order [403]

was entered granting him the reduction. There remain three motions that are shown to be

pending on the ECF. These are motions [302] Motion to Vacate Under 28 U.S.C. § 2255, [330]

Motion to Amend or Correct and [344] Motion to Clarify. These motions are all moot and it is

ordered that said motions be mooted for statistical purposes. The case remains finally closed.

       SO ORDERED this the 22nd day of June, 2016.

                                     s/Keith Starrett
                                     UNITED STATES DISTRICT JUDGE
